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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS


   COMMODITY FUTURES TRADING
   COMMISSION, and                      ORDER GRANTING PLAINTIFFS'
                                        EMERGENCY EX PARTE MOTION FOR
  ALABAMA SECURITIES COMMISSION,        STATUTORY RESTRAINING ORDER,
  STATE OF ALASKA, ARIZONA              APPOINTMENT OF RECEIVER, AND
  CORPORATION COMMISSION,               OTHER EQUITABLE RELIEF
  CALIFORNIA COMMISSIONER OF
  BUSINESS OVERSIGHT, COLORADO
  SECURITIES COMMISSIONER, STATE
  OF DELAWARE, STATE OF FLORIDA,        Case No.: 3:20-CV-2910-L
  OFFICE OF THE ATTORNEY GENERAL,
  STATE OF FLORIDA, OFFICE OF           Judge: Honorable Sam A. Lindsay
  FINANCIAL REGULATION, OFFICE OF
  THE GEORGIA SECRETARY OF STATE,
  STATE OF HAWAII, SECURITIES
  ENFORCEMENT BRANCH, IDAHO
  DEPARTMENT OF FINANCE, INDIANA
  SECURITIES COMMISSIONER, IOWA
  INSURANCE COMMISSIONER
  DOUGLAS M. OMMEN, OFFICE OF THE
  KANSAS SECURITIES COMMISSIONER,
  KENTUCKY DEPARTMENT OF.
  FINANCIAL INSTITUTIONS, MAINE
  SECURITIES ADMINISTRATOR, STATE
  OF MARYLAND EX REL MARYLAND
  SECURITIES COMMISSIONER,
  ATTORNEY GENERAL DANA NESSEL
  ON BEHALF OF THE PEOPLE OF
  MICHIGAN, MISSISSIPPI SECRETARY
  OF STATE, NEBRASKA DEPARTMENT
  OF BANKING & FINANCE, OFFICE OF
  THE NEVADA SECRETARY OF STATE,
  NEW MEXICO SECURITIES DIVISION,
  THE PEOPLE OF THE STATE OF NEW
  YORI( BY LETITIA JAMES, ATTORNEY
  GENERAL OF THE STATE OF NEW
  YORI<, OKLAHOMA DEPARTMENT OF
  SECURITIES, SOUTH CAROLINA
  ATTORNEY GENERAL, SOUTH
  CAROLINA SECRETARY OF STATE,
  SOUTH DAKOTA DEPARTMENT OF
  LABOR & REGULATION, DIVISION OF



                                                                          EXHIBIT

                                                                           A
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   INSURANCE, COMMISSIONER OF THE
   TENNESSEE DEPARTMENT OF
   COMMERCE AND INSURANCE, STATE
   OF TEXAS, WASHINGTON STATE
   DEPARTMENT OF FINANCIAL
   INSTITUTIONS, WEST VIRGINIA
   SECURITIES COMMISSION, AND STATE
   OF WISCONSIN.

   Plaintiffs,

   v.

   TMTE, INC. a/lda METALS.COM, CHASE
   METALS, INC., CHASE METALS, LLC,
   BARRICK CAPITAL, INC., LUCAS
   THOMAS ERB a/lda LUCAS ASHER a/lda
   LUKE ASHER, and SIMON BATASHVILI,

   Defendants;

   and

   TOWER EQUITY, LLC,

   Relief Defendant.


          Plaintiffs Commodity Futures Trading Commission ("CFTC"), Alabama Securities

   Commission ("State of Alabama"), State of Alaska ("State of Alaska"), Arizona Corporation

   Commission ("State of Arizona"), California Department of Business Oversight ("State of

   California"), Colorado Securities Commissioner ("State of Colorado"), Delaware Department of

   Justice ("State of Delaware"), Florida Office of Financial Regulation ("State of Florida"), Office

   of the Georgia Secretary of State ("State of Georgia"), Hawaii Office of the Securities

   Commissioner (State of Hawaii"), Idaho Department of Finance ("State of Idaho"), Indiana

   Securities Commissioner ("State of Indiana"), Iowa Insurance Commissioner, Douglas M.

   Ommen ("State oflowa"), Office of the Kansas Securities Commissioner ("State of Kansas"),



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   Kentucky Depatiment of Financial Institutions ("Commonwealth of Kentucky"), Maine Office

   of Securities ("State of Maine"), Maryland Securities Commissioner ("State of Maryland"),

   Massachusetts Securities Division ("Commonwealth of Massachusetts"), Michigan Department

   of Attorney General ("State of Michigan"), Mississippi Secretary of State ("State of

   Mississippi"), Nebraska Depatiment of Banking & Finance ("State of Nebraska"), Nevada

   Office of Secretary of State ("State of Nevada"), New Hampshire Bureau of Securities

   Regulation ("State of New Hampshire"), New Mexico Securities Division ("State of New

   Mexico"), New York Attorney General ("State of New York"), Nmih Dakota Securities

   Depa1iment ("State of North Dakota"), Oklahoma Department of Securities ("State of

   Oklahoma"), Oregon Depa1iment of Consumer and Business Services ("State of Oregon"),

   Pennsylvania Department of Banking and Securities ("Commonwealth of Pennsylvania"), South

   Carolina Attorney General and South Carolina Secretary of State ("State of South Carolina")

   South Dakota Department of Labor & Regulation ("State of South Dakota"), Tennessee

   Department of Commerce and Insurance ("State of Tennessee"), State of Texas ("State of

   Texas"), Washington State Department of Financial Institutions ("State of Washington"), and

   Wisconsin Department of Financial Institutions ("State of Wisconsin") (collectively "the

   States"), have filed a Complaint for Injunctive Relief, Civil Monetary Penalties, and other

   Ancillary Equitable Relief.

          Along with the filing of the Complaint, the CFTC and the States moved the Court on an

   emergency, ex parte basis, for an order, pursuant to Section 6c(a) of the Commodity Exchange

   Act ("CEA"), 7 U.S.C. § 13a-l(a) (2012), and in accordance with Federal Rule of Civil

   Procedure ("Fed. R. Civ. P.") 65, that: (1) freezes the assets of Defendants and Relief Defendant,

   (2) grants the CFTC and the States immediate access to the books, records, and other documents



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   of Defendants and Relief Defendant; and (3) appoints a temporary receiver (the "Proposed

   SRO"). Plaintiffs request this emergency relief in order to preserve the status quo; to prevent the

   dissipation of any assets and ensure that any future equitable relief obtained by Plaintiffs,

   including any restitution to the victims of Defendants' fraudulent scheme, can be effective; and

   to determine the full scope of the fraudulent scheme, identify the victims of the scheme, and

   locate the remaining assets of Defendants and Relief Defendant. Additionally, Plaintiff requests

   expedited discovery in accordance with FRCP 26(d).

          The Comt has considered the pleadings, declarations, exhibits, and memorandum filed in

   support of the CFTC and the States' motion, and finds that:

   1.     This Court has jurisdiction over the patties and over the subject matter of this action

   pursuant to 28 U.S.C. § 1331 (2018) (federal question jurisdiction) and 28 U.S.C. § 1345 (2018)

   (district courts have original jurisdiction over civil actions commenced by the United States or by

   any agency expressly authorized to sue by Act of Congress), as well as 28 U.S.C. § 1367(a)

   (supplemental jurisdiction over claims under the laws of the States).

   2.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331 (2018)

   (federal question jurisdiction) and 28 U.S.C. § 1345 (2018) (district courts have original

  jurisdiction over civil actions commenced by the United States or by any agency expressly

   authorized to sue by Act of Congress).

   3.     Section 6c(a) of the CEA, 7 U.S.C. § 13a-l(a) (2018), authorizes the CFTC to seek

   injunctive and other relief against any person whenever it appears to the CFTC that such person

   has engaged, is engaging, or is about to engage in any act or practice constituting a violation of

   any provision of the CEA or any rule, regulation, or order thereunder.

   4.     Section 6d(l) of the CEA, 7 U.S.C. § 13a-2(1) (2018), authorizes the States to bring a



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   suit in the district courts of the United States to seek injunctive and other relief against any

   person whenever it appears to the Attorney General and/or Securities Administrator of a State, or

   such other official that a State may designate, that the interests of the residents of the State have

   been, are being, or may be threatened or adversely affected because of violations of the CEA or

   CFTC Regulations.

   5.      Venue lies properly in this District pursuant to Section 6c(e) of the CEA, 7 U.S.C. § 13a-

   1(e) (2018), because Defendants transacted business in this District, and certain of the acts and

  practices in violation of the CEA, the CFTC Regulations, and State laws occurred, are occurring,

   or are about to occur within this District, among other places. Venue also lies properly in this

   District pursuant to 17 U.S.C. § 139l(b)(2) because a substantial part of the events or omissions

   giving rise to the Plaintiffs' claims occurred in this District.

   6.     The CFTC and the States have made a properprimafacie showing that from at least

   September 1, 2017 through the present ("Relevant Period"), Defendants TMTE, Inc., d/b/a

  Metals.com, Chase Metals, LLC, Chase Metals, Inc., (collectively "Metals"), Barrick Capital,

   Inc. ("Barrick") and their principals, Lucas Asher a/kla Lucas Thomas Erb a/k/a Luke Asher

   ("Asher"), and Simon Batashvili ("Batashvili") (collectively "Defendants") have engaged and

   continue to engage in a fraudulent scheme to defraud at least 1,600 persons throughout the

   United States into purchasing gold and silver bullion ("Precious Metals Bullion"). Metals and

  Barrick are a common enterprise. Batashvili and Asher were controlling persons of Metals and

   Barrick and used both Metals and Barrick to perpetuate the fraudulent scheme. Defendants

  targeted a vulnerable population of mostly elderly or retirement-aged persons with little

   experience in Precious Metals Bullion. By making material misrepresentations and omissions,

  Defendants deceived investors into purchasing Precious Metals Bullion at prices averaging from



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   100% to over 200% over the base melt value or spot price of the Precious Metals Bullion

   ("Prevailing Market Price"). Defendants directed investors to purchase specific Precious Metals

  Bullion at grossly inflated prices that bore no relationship to the Prevailing Market Price.

  Defendants did not disclose the actual value of the Fraudulently Priced Precious Metals Bullion

   and instead provided investors with invoices showing exorbitant and unreasonable prices.

  Defendants falsely represented that Fraudulently Priced Precious Metals Bullion were a safe and

   conservative investment and that investors would not lose their funds. Contrary to these

   representations, Defendants failed to disclose to investors that the undisclosed, excessive, and

  unreasonable charges of Fraudulently Priced Precious Metals Bullion resulted in investors

  sustaining substantial losses on the purchase of Precious Metals Bullion from Defendants.

   7.     Therefore, there is good cause to believe that Defendants have engaged in, are engaging

   in, or are about to engage in a scheme to defraud investors in violation of Section 6(c) of the Act,

   7 U.S.C. § 9(1) (2018), Regulation 180.l(a)(l)-(3), 17 C.F.R. § 180.l(a)(l)-(3) (2019) and the

   laws of the States. Defendants also have engaged in, are engaging in, or are about the engage in

  violations of the laws of Plaintiffs State of Alabama, State of Alaska, State of California, State of

   Colorado, State of Florida, State of Georgia, Commonwealth of Kentucky, State of Maryland,

   State of South Carolina, and State of Texas as specifically alleged in the Complaint.

   8.     There is also good cause to believe that Relief Defendant Tower Equity, LLC, ("Tower")

  has received, is receiving, or is about to receive funds, assets or other property as a result of

  Defendants' violative acts and practices and has been unjustifiably enriched thereby. The Relief

  Defendant does not have any legitimate interest or entitlement to these funds, assets or other

  property ("assets") received as a result of Defendants' violative conduct.

   9.     There is also good cause to believe that immediate and irreparable damage to the Court's



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   ability to grant effective final relief for investors in the Fraudulently Priced Precious Metals

   Bullion in the form of monetary redress will occur from the withdrawal, transfer, removal,

   dissipation, or other disposition of assets, and/or the destruction, alteration, or disposition of

   books and records and other documents pertaining to the business activities and business and

   personal finances by Defendants and Relief Defendant, unless Defendants and Relief Defendant

   are immediately restrained and enjoined by Order of the Court.

   10.    Therefore, there is good cause for the Court to freeze assets owned, controlled, managed

   or held by Defendants and Relief Defendant, or in which they have any beneficial interest.

   11.    There is also good cause for the Court to prohibit Defendants and Relief Defendant from

   destroying, altering or disposing ofrecords, and/or denying representatives of the CFTC and the

   States access to inspect records, when and as requested, to ensure that CFTC and State

   representatives have immediate and complete access to those records.

   12.    There is also good cause for the appointment of a Temporary Receiver to take control of

   all assets owned, controlled, managed, or held by Defendants and Relief Defendant or in which

   they have any beneficial interest ("Defendants' Assets" and "Relief Defendants' Assets"), so that

   the Temporary Receiver may preserve assets, investigate and determine investor claims,

   determine unlawful proceeds retained by Defendants and Relief Defendant and amounts due to

   investors as a result of Defendants' alleged violations, and distribute funds to investors harmed

   by Defendants' alleged misconduct under the Court's supervision.

   13.    There is also good cause to order Defendants to repatriate funds, assets or other property

   controlled by Defendants so that such assets can be controlled by the Temporary Receiver and to

   assure payment of restitution and disgorgement as authorized by the Court.

   14.    In summary, this is a proper case for granting a restraining order ex parte: (l) prohibiting


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   Defendants and Relief Defendant from transferring, removing, dissipating assets, or otherwise

   disposing of any asset, (2) allowing inspection and copying of records by the CFTC and States,

   and (3) appointing a temporary receiver because the CFTC and the States are likely to succeed

   on the merits of their claims against Defendants. Moreover, there is reasonable likelihood that

   Defendant(s) may transfer or dissipate assets or destroy or alter records. Therefore, the Comi

   orders the following.

                                              DEFINITIONS

   For purposes of this Order, the following definitions apply:

   15.    The term "assets" encompasses any legal or equitable interest in, right to, or claim to, any

   real or personal property, whether individually or jointly, directly or indirectly controlled, and

   wherever located, including but not limited to: chattels, goods, instruments, equipment, fixtures,

   general intangibles, effects, leaseholds mail or other deliveries, inventory, checks, notes,

   accounts (including, but not limited to, bank accounts and accounts at other financial

   institutions), credits, receivables, lines of credit, contracts (including spot, futures, options, or

   swaps contracts), insurance policies, and all funds, wherever located, whether in the United

   States or outside the United States.

   16.    The term "record" encompasses the terms "document" and "electronically stored

   information" as those terms are used in Fed. R. Civ. P. 34(a), and includes, but ate not limited to,

   all writings, graphs, charts, photo~raphs, sound recordings, images, and other data or other data

   compilations-stored in any medium from which information can be obtained or translated, if

   necessary, into reasonable usable form. The term "record" also refers to each and every such

   item in Defendants' and Relief Defendants' actual or constructive possession, including but not

   limited to: (i) all such items within the custody or control of any agents, employers, employees,



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      or partners of the Defendants and Relief Defendant; and (ii) all items which Defendants and

      Relief Defendant have a legal or equitable right to obtain from another person. A draft or non-

      identical copy is a separate item within the meaning of the term. Records also include the file

      and folder tabs associated with each original and copy.

      17.      The term "Defendants" refers to TMTE, Inc., d/b/a Metals.com, Chase Metals, LLC,

      Chase Metals, Inc., Barrick Capital, Inc. and their principals, Lucas Asher a/k/a Lucas Thomas

      Erb a/kla Luke Asher, and Simon Batashvili.

      18.      "Relief Defendant" refers to Tower Equity, LLC.

                                                RELIEF GRANTED

      IT IS HEREBY ORDERED that:

 I.         Asset Freeze Order Prohibiting the Withdrawal, Transfer, Removal, Dissipation, and
            Disposal of Assets

      19.      Defendants and Relief Defendant are immediately restrained and enjoined, except as

      otherwise ordered by this Court, from directly or indirectly withdrawing, transferring, removing,

      dissipating, or otherwise disposing of any assets, wherever located, including Defendants' and

      Relief Defendant's assets held outside the United States, except as provided otherwise in

      Sections IV, V, and VI of this Order, or as otherwise ordered by the Comi;

      20.      Notwithstanding the provisions of this Section I, at the request of the Temporary

      Receiver, Defendants and Relief Defendant and any other person who has possession, custody,

      or control of any of Defendants' or Relief Defendant's assets shall transfer possession of all

      funds, assets or other property subject to this Order to the Temporary Receiver in accordance

      with Section IV, V and VI of this Order.

      21.      The assets affected by this Order shall include existing assets as well as assets acquired

      after the effective date of this Order.


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    II.   Maintenance of and Access to All Records That Relate to the Business Activities and
          Business and Personal Finances

   22.    Defendants and Relief Defendant are restrained from directly or indirectly destroying,

   altering, or disposing of, in any manner, any records that relate or refer to the business activities

   or business or personal finances of any Defendant or Relief Defendant.

   23.    Representatives of the CFTC and the States shall be immediately allowed to inspect any

   records relating or referring to the business activities or business or personal finances of the

   Defendants and Relief Defendant, including, but not limited to, both hard-copy documents and

   electronically stored information, wherever they may be situated and whether they are in the

   possession of the Defendants, or Relief Defendant, or others. To ensure preservation and

   facilitate meaningful inspection and review of records, Defendants and Relief Defendant shall

   allow representatives of the CFTC and the States to make copies of any records, and if on-site

   copying of records is not practicable, representatives may make such copies off-site. The CFTC

   and the States shall promptly return the original records after any such off-site copying.

   24.    To further facilitate meaningful inspection and review, Defendants and Relief Defendant

   shall, absent a valid assertion of their rights against self-incrimination under the Fifth

   Amendment, promptly provide CFTC and States staff with:

              a. the location of all records relating or referring to the business activities and

                  business and personal finances of Defendants and Relief Defendant; and

              b. all identification numbers and other identifying information for websites, cloud

                  storage services, email and smartphone accounts, and all accounts at any bank,

                  financial institution, or brokerage firm (including any introducing broker or

                  futures commission merchant) owned, controlled or operated by Defendants or

                  Relief Defendant, or to which Defendants and Relief Defendant have access; and


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              c. all passwords to, and the location, make and model of, all computers and/or

                  mobile electronic devices owned and/or used by Defendants or Relief Defendant

                  in connection with their business activities and business and personal finances,

   25.    When inspecting records that are subject to this Order, including those contained on

   computers and/or other electronic devices, the CFTC and the States should unde1iake reasonable

   measures to prevent review of the Defendants' or Relief Defendant's privileged communications

   and/or other nonbusiness, nonfinancial materials by the CFTC's and the States' attorneys and

   other staff who are paii of the litigation team in this matter. Moreover, Defendants and Relief

   Defendant (or their counsel) shall promptly contact counsel for the CFTC or the States to asse1i

   any claims of privilege (or other legal objections) relating to the contents of any records that are

   subject to this Order and promptly cooperate with counsel for the CFTC or the States to develop

   reasonable protocols to isolate and prevent disclosure of claimed privileged and/or other

   nonbusiness, nonfinancial materials to the CFTC's or the States' attorneys and other staff who

   are part of the litigation team in this matter. However, nothing herein shall excuse Defendants or

   Relief Defendant from full and immediate compliance with this Court's Order permitting the

   CFTC and the States to inspect the records which relate to Defendants' or Relief Defendant's

   business activities and their business and personal finances.

   III.   Notice to Financial Institutions and Others that Hold or Control Assets or Records
          of Defendants and Relief Defendants

   26.    To ensure the effectiveness of the asset freeze and pending further Order of this Court,

   any financial or brokerage institution, business entity, or person that receives actual notice of this

   Order and holds, controls, or maintains custody of any assets of Defendants or Relief Defendant

   shall not, in active concert or participation with Defendants or Relief Defendant, permit

   Defendants or Relief Defendant or other persons to withdraw, transfer, remove, dissipate, or


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   otherwise dispose of any of Defendants' or Relief Defendant's assets, except as directed by

   further order of the Court; and

   27.    Any financial or brokerage institution, business entity, or person that receives notice of

   this Order by personal service or otherwise shall not, in active concert or participation with any

   Defendants or Relief Defendant directly or indirectly destroy, alter, or dispose of, in any manner,

   any Records relating to the business activities and business and personal finances of any

   Defendant or Relief Defendant.

   28.    Furthermore, any such financial or brokerage institution, business entity, or person that

   receives actual notice of this Order and holds, controls, or maintains custody of any account or

   assets, titled in the name of, held for the benefit of, or otherwise under the control of any

   Defendants or Relief Defendant, or has held, controlled, or maintained custody of any such asset,

   of any Defendants or Relief Defendant at any time since September 1, 2017, shall not, in active

   concert or participation with Defendants or Relief Defendant, deny a request by the CFTC or the

   States to inspect all records pertaining to any account or asset owned, controlled, managed, or

   held by, on behalf of, or for the benefit of Defendants or Relief Defendant, including, but not

   limited to, originals or copies of account applications, account statements, signature cards,

   checks, drafts, deposit tickets, transfers to and from the accounts, all other debit and credit

   instruments or slips, currency transaction reports, 1099 forms, and safe deposit box logs. As an

   alternative to allowing inspection of records, a financial or brokerage institution, business entity

   or other person may provide copies of records requested by the CFTC or the States.

   29.    Fmihermore, any such financial or brokerage institution, business entity, or person that

   receives actual notice of this Order shall:




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          a.        Within ten business days of a request by the Temporary Receiver, or such longer

                    period specified by the Temporary Receiver, provide the Temporary Receiver

                    with copies of all records pertaining to any account or asset owned, controlled,

                    managed, or held by, on behalf of, or for the benefit of Defendants or Relief

                    Defendant, either individually or jointly, including, but not limited to, originals or

                    copies of account applications, account statements, signature cards, checks, drafts,

                    deposit tickets, transfers to and from the accounts, all other debit and credit

                    instruments or slips, currency transaction repo1ts, 1099 forms, and safe deposit

                    box logs; and

               b. Cooperate with all reasonable requests of the Temporary Receiver relating to

                  implementation of this Order, including transferring Defendants' or Relief

                  Defendant's assets, at the Temporary Receiver's direction, and producing Records

                  related to business activities or business or personal finances of Defendants or

                  Relief Defendant to the Temporary Receiver.

   IV.    Order Appointing Temporary Receiver

   30.    Kelly Crawford is appointed Temporary Receiver with the full powers of an equity

   receiver for Defendants and Relief Defendant and their affiliates or subsidiaries owned or

   controlled by Defendants or Relief Defendant (hereinafter referred to as the "Receivership

   Defendants"), and of all records, and all funds, properties, premises, accounts, income, now or

   hereafter due or owing to the Receivership Defendants, and other assets directly or indirectly

   owned, beneficially or otherwise, by the Receivership Defendants, (hereinafter, the

   "Receivership Estate"). The Temporary Receiver shall be the agent of this Court in acting as

   Temporary Receiver under this Order.



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   31.   The Temporary Receiver is directed and authorized to accomplish the following:

          a. Assume full control of the Receivership Defendants by removing Asher or

              Batashvili, and any officer, independent contractor, employee, or agent of the

              Receivership Defendants, from control and management of the affairs of the

              Receivership Defendants as the Temporary Receiver deems appropriate;

          b. Take exclusive custody, control, and possession of the Receivership Estate, which

              includes but is not limited to complete authority to sue for, collect, receive, and take

              possession of all goods, chattels, rights, credits, money, effects, land, leases, books,

              records, work papers, and records of accounts, including electronically-stored

              information, contracts, financial records, funds on hand in banks and other financial

              institutions, and other papers and records of the Receivership Defendants and

              customers or clients of any of Receivership Defendants' business activities whose

              interests are now held by, or under the direction, possession, custody, or control of,

              the Receivership Defendants;

          c. Take exclusive custody, control, and possession of all websites, cloud storage

              services, email, and smartphone accounts, and all accounts at any bank, financial

              institution, or brokerage firm (including any introducing broker or futures

              commission merchant) controlled or operated by or to which any of the Defendants

              or Relief Defendant have access in connection with their business activities and

              business and personal finances.

          d. Take all steps necessary to secure the business and other premises under the control

              of the Receivership Defendants, including but not limited to the premises of the

              Defendants.



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          e. Perform all acts necessary, including the suspension of operations, to conserve,

               hold, manage, and preserve the value of the Receivership Estate in order to prevent

               irreparable loss, damage, or injury to investors in any investment opportunity

               operated by any Receivership Defendants.

          f.   Prevent the withdrawal or misapplication of the assets of the Receivership Estate

               and otherwise protect the interests of investors in any investment opportunity

               operated by any Receivership Defendant;

          g. Manage and administer the Receivership Defendants and the Receivership Estate by

               performing all acts incidental thereto that the Temporary Receiver deems

               appropriate, including hiring or dismissing any and all personnel, suspending

               operations, and/or entering into agreements, including but not limited to: (1) the

               retention and employment of investigators, attorneys, or accountants, appraisers,

               and other independent contractors and technical specialists of the Temporary

               Receiver's choice, including without limitation members and employees of the

               Temporary Receiver's firm, to assist, advise, and represent the Temporary

               Receiver; and (2) the movement and storage of any equipment, furniture, records,

               files, or other physical propeity of the Receivership Defendants;

          h. Collect all funds owed to the Receivership Defendants;

          i.   Initiate, defend, compromise, adjust, intervene in, dispose of, or become a party to

               any actions or proceedings in state, federal, or foreign coutt that the Temporary

               Receiver deems necessary and advisable to preserve or increase the value of the

               assets of the Receivership Estate or that the Temporary Receiver deems necessary

               and advisable to carry out the Temporary Receiver's mandate under this Order;



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          J.   Issue subpoenas to obtain records pertaining to the Receivership and conduct

               discovery in this action on behalf of the Receivership Estate;

          k. Open one or more bank accounts and deposit all funds of the Receivership Estate in

               such designated accounts and make all payments and disbursements from the

               Receivership Estate from such accounts;

          1. Make payments and disbursements from the Receivership Estate that are necessary

               or advisable for carrying out the directions of, or exercising the authority granted

               by, this Order, provided that the Temporary Receiver shall apply to the Comt for

               prior approval of any payment of any debt or obligation incurred by the

               Receivership Defendants prior to the date of entry of this Order, except for

               payments that the Temporary Receiver deems necessary or advisable to secure the

               Receivership Estate from immediate and irreparable loss; and

          m. Maintain written accounts itemizing receipts and expenditures, describing

               properties held or managed, and naming the depositories holding funds or other

               assets of the Receivership Estate; make such written accounts and supporting

               documentation available to the CFTC and the States for inspection; and, within

               sixty days of being appointed and periodically thereafter, as directed by the Court,

               file with the Court and serve on the patties a report summarizing efforts to marshal

               and collect assets, administer the Receivership Estate, and otherwise perform the

               duties mandated by this Order.

          n. Provide the CFTC and the States with a full accounting of all Defendants' and

               Relief Defendant's funds, documents, and assets, including those outside of the

               United States from September 1, 2017 to the date of the Order.



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    V.    Transfer of Funds and Records to the Temporary Receiver

   32.    Absent a valid assettion by Defendants or Relief Defendant of their respective rights

   against self-incrimination under the Fifth Amendment, each Defendant and Relief Defendant

   shall, within five business days following the service of this Order:

            a. Transfer to the territory of the United States and deliver to possession, custody, and

                control of the Temporary Receiver, all assets of the Receivership Estate (other than

                real pro petty) and books and records of the Receivership Estate, located outside of

                the United States that are held by each and every Defendant and Relief Defendant,

                for their benefit, or under their direct or indirect control, whether jointly or singly.

            b. Provide the Temporary Receiver access to all records of the Receivership Estate

                and all assets of the Receivership Estate held by any financial or brokerage

                institution, business entity, or other person that receives actual notice of this Order

                by personal service or otherwise, located within or outside the territorial United

                States by signing any necessary consent forms.

   VI.    Turning Over Assets and Records to the Temporary Receiver

   33.    Upon service of this Order, and absent a valid assertion by Defendants and Relief

   Defendant of their respective rights against self-incrimination under the Fifth Amendment,

   Defendants and Relief Defendant, and any agents, employees, or pattners of the Defendants and

   Relief Defendant who are served with a copy of this Order, shall immediately or within such

   time as permitted by the Temporary Receiver in writing, deliver over to the Temporary Receiver:

            a. Possession and custody of all assets of the Receivership Estate, owned beneficially

                or otherwise, wherever situated;

            b. Possession and custody of all records of the Receivership Estate in connection with



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                their business activities and business and personal finances, including but not

                limited to, all records of accounts, all financial and accounting records, balance

                sheets, income statements, bank records (including monthly statements, canceled

                checks, records of wire transfers, and check registers); investor lists, title

                documents, and other records of the Receivership Defendants;

            c. Possession and custody of all assets belonging to members of the public now held

                by the Receivership Defendants;

            d. All keys, passwords, entry codes, and combinations to locks necessary to gain or to

                secure access to any of the assets or records of the Receivership Defendants related

                to their business activities and business and personal finances, including, but not

                limited to, access to the Receivership Defendants' business premises, means of

                communication, accounts, computer systems, mobile electronic devices, or other

                property; and

            e. Information identifying the accounts, employees, properties, or other assets or

                obligations of the Receivership Defendants.

   VII.   Directive to Cooperate with Temporary Receiver

   34.    Absent a valid assertion of their respective rights against self-incrimination under the

   Fifth Amendment, Defendants, Relief Defendant, and all other persons or entities served with a

   copy of this order shall cooperate fully with and assist the Temporary Receiver. This

   cooperation and assistance shall include, but not be limited to, providing any information to the

   Temporary Receiver that the Temporary Receiver deems necessary to exercising the authority as

   provided in this Order; providing any password required to access any computer or electronic

   files in any medium; and discharging the responsibilities of the Temporary Receiver under this



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   Order, and advising all persons who owe debts to the Receivership Defendants that all debts

   should be paid directly to the Temporary Receiver.

  VIII.   Stay on Actions against the Receivership Defendants

          IT IS FURTHER ORDERED THAT:

   3 5.   Except by leave of the Court, during the pendency of the receivership ordered herein,

   Defendants, Relief Defendant, and all other persons and entities shall be and hereby are stayed

   from taking any action to establish or enforce any claim, right, or interest for, against, on behalf

   of, in, or in the name of, the Receivership Defendants, the Temporary Receiver, assets of the

   Receivership Estate, or the Receiver's duly authorized agents acting in their capacities as such,

   including but not limited to, the following actions:

            a. Petitioning, or assisting in the filing of a petition, that would cause the Receivership

                Defendants to be placed in bankruptcy;

            b. Commencing, prosecuting, litigating or enforcing any suit or proceeding against

                any of the Receivership Defendants, or any of their subsidiaries or affiliates, except

                that such actions may be filed to toll any applicable statute of limitations;

            c. Commencing, prosecuting, continuing, or entering any suit or proceeding in the

                name or on behalf of any of the Receivership Defendants, or any of their

                subsidiaries or affiliates;

            d. Accelerating the due date of any obligation or claimed obligation, enforcing any

                lien upon, or taking or attempting to take possession of, or retaining possession of,

                property of the Receivership Defendants, or any of their subsidiaries or affiliates, or

                any property claimed by any of them, or attempting to foreclose, forfeit, alter, or

                terminate any of the Receivership Defendants' interests in property, including



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                 without limitation, the establishment, granting, or perfection of any security

                 interest, whether such acts are pa1t of a judicial proceeding or otherwise;

            e. Using self-help or executing or issuing, or causing the execution or issuance of any

                 comt attachment, subpoena, replevin, execution or other process for the purpose of

                 impounding or taking possession of or interfering with, or creating or enforcing a

                 lien upon any prope1ty, wherever located, owned by or in the possession of the

                 Receivership Defendants, or any of their subsidiaries or affiliates, or the Temporary

                 Receiver, or any agent of the Temporary Receiver; and

            f.   Doing any act or thing to interfere with the Temporary Receiver taking control,

                 possession, or management of the prope1ty subject to the receivership, or to in any

                 way interfere with the Temporary Receiver or to harass or interfere with the duties

                 of the Temporary Receiver, or to interfere in any manner with the exclusive

                 jurisdiction of this Court over the property and assets of the Receivership

                 Defendants, or their subsidiaries or affiliates.

     Provided, however, that nothing in this section shall prohibit any federal or sta,te law

     enforcement or regulatory authority from commencing or prosecuting an action against the

     Receivership Defendants.

   IX.    Compensation for Temporary Receiver and Personnel Hired by the Temporary
          Receiver

   36.    The Temporary Receiver and all personnel hired by the Temporary Receiver as herein

   authorized, including counsel to the Temporary Receiver, are entitled to reasonable

   compensation, to be paid solely from the assets of the Receivership estate, for the performance of

   duties pursuant to this Order and for the cost of actual out-of-pocket expenses incurred by them

   for those services authorized by this Order that when rendered were (1) reasonably likely to


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   benefit the receivership estate or (2) necessary to the administration of the estate. The

   Temporary Receiver and all personnel hired by the Temporary Receiver shall not be

   compensated or reimbursed by, or otherwise entitled to, any funds from the Court, the CFTC, or

   the States. The Temporary Receiver shall file with the Court and serve on the parties periodic

   requests for the payment of such reasonable compensation, with the first such request filed no

   more than sixty (60) days after the date of this Order and subsequent requests filed quarterly

   thereafter. The requests for compensation shall itemize the time and nature of services rendered

   by the Temporary Receiver and all personnel hired by the Temporary Receiver.

    X.    Persons Bound by This Order

   37.    This Order is binding on any person who receives actual notice of this Or~er by personal

   service or otherwise and is acting in the capacity of an officer, agent, servant, employee, or

   attorney of Defendants or Relief Defendant, or is in active concert or participation with the

   Defendants or Relief Defendant.

   XI.    Bond Not Required of Plaintiffs or the Temporary Receiver

   38.    As Plaintiffs CFTC and the States have made a proper showing under 7 U.S.C. §13a-l(b)

   and they are not required to post any bond in connection with this Order. The Te)llporary

   Receiver similarly is not required to post bond.

   XII.   Service of Order and Assistance of U.S. Marshals Service and/or Other Law
          Enforcement Personnel

   39.    Copies of this Order may be served by any means, including via email or facsimile

   transmission, upon any financial institution or other entity or person that may have possession,

   custody, or control of any records or assets of any Defendant or Relief Defendant, or that may be

   subject to any provision of this Order.




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  XIII.   Staff of the CFTC and the States and Representatives of the United States Marshals
          Service are specially appointed by the Court to effect service.

   40.    The United States Marshals Service is authorized to: a) accompany and assist

   representatives of the CFTC and the States in the service and execution of the Summons,

   Complaint, and this Order on the Defendants and Relief Defendants, and b) help maintain lawful

   order while representatives of the CFTC and States inspect records as provided in this Order.

  XIV.    Service on the CFTC and the States

   41.    Defendants and Relief Defendants shall comply with all electronic filing rules and

   requirements of the U.S. District Court for the Northern District of Texas and shall serve all

   pleadings, correspondence, notices required by this Order, and other materials on the CFTC by

   delivering a copy to Richard Foelber, Chief, Office of Cooperative Enforcement, and JonMarc

   Buffa, Deputy Chief, Office of Cooperative Enforcement, Commodity Futures Trading

   Commission, 1155 215t Street, NW, Washington, DC 20581, by electronic filing, e-mail,

   personal delivery or courier service (such as Federal Express or United Parcel Service) and not

   by regular mail due to potential delay resulting from heightened security and decontamination

   procedures applicable to the CFTC's regular mail.


   42.    Defendants and Relief Defendants shall comply with all electronic filing rules and

   requirements of the U.S. District Comi for the Northern District of Texas and shall serve all

   pleadings, correspondence, notices required by this Order, and other materials on the States by

   delivering a copy to the State attorneys identified in the Complaint by electronic filing, e-mail,

   personal delivery or courier service (such as Federal Express or United Parcel Service).


   XV.    Hearing on Preliminary Injunction and Granting of Expedited Discovery

   43.    Plaintiffs' motion for a preliminary injunction and extending the appointment of the


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   Temporary Receiver is set for hearing on the 6th day of October, 2020, at 10:00 a.m. before the

   Honorable Sam A. Lindsay, Courtroom 1546, at the United States Courthouse for the Northern

   District of Texas located at 1100 Commerce Street, Dallas Texas 75242. Should any party wish

   to file a memorandum of law or other papers concerning the issuance of a preliminary injunction

   against Defendants and Relief Defendant, such materials shall be filed, served and received by

   all parties at least two business days before the hearing ordered above.

   44.      Plaintiffs' additional Motion for Expedited Discovery is granted and in advance of this

   preliminary injunction hearing, the parties may conduct expedited discovery, and the prohibition

   upon discovery before the early meeting of counsel pursuant to FRCP 26(f), in accordance with

   FRCP 26( d), is removed. Depositions of patties and non-pa1ties may be taken subject to two

   calendar days' notice pursuant to FRCP 30(a) and 45, that notice may be given personally, by

   facsimile, or by electronic mail, and, if necessary, any deposition may last more than seven

   hours.

  XVI.      Force and Effect

   45.      This Order shall remain in full force and effect until October 6, 2020 at 5:00 p.m., unless

   extended fmther by order of this Court pursuant to Fed. R. Civ. P. 65(b)(2), and this Court

   retains jurisdiction of this matter for all purposes.


            SIGNED on this 22nd day of September, 2020.


                                                      -J


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